   Case 4:22-cv-01431-MWB Document 22 Filed 09/12/22 Page 1 of 4




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215-564-1635                                          ATTORNEY FOR PLAINTIFF
TRISHA TSHUDY                 :                       UNITED STATES DISTRICT
                              :                       COURT FOR THE EASTERN
                              :                       DISTRICT OF PENNSYLVANIA
         v.                   :
                              :                       2:22-cv-03336
                              :
                              :                       Honorable Wendy Beetlestone
                              :
PENNSYLVANIA STATE UNIVERSITY :                       JURY TRIAL DEMANDED

                 JOINT REPORT OF RULE 26(F) MEETING AND
                       PROPOSED DISCOVERY PLAN:
                         PLAINTIFF’S EXCEPTIONS

       A. Lack of Agreement

       Defendant’s counsel contacted plaintiff’s counsel on 09/09/22 with a proposed

Rule 26(f) statement and invited plaintiff to insert plaintiff’s claims, defenses, and

relevant issues under Section 1(a) of defendant’s proposed plan. Plaintiff did not do this,

as there were parts of the proposed discovery plan with which plaintiff did not agree.

Plaintiff indicates the following exceptions and/or amendments to defendant's plan.

       B. Plaintiff’s Claims

       Plaintiff has used paragraphs 23-25 of the complaint, inclusive, as a summary.

They read as follows:

       The gravamen of this lawsuit arises out of the violation of plaintiff’s due

process rights and rescission of her scholarship, going into her third year of law school

at Dickinson. Plaintiff was denied rudimentary due process at her honor code hearing,

was denied counsel, and was forced to confront a so-called similarity checker, inter alia.

These machines were not used in plaintiff’s other courses.

       Dickinson discriminated against the plaintiff by violating her right to
   Case 4:22-cv-01431-MWB Document 22 Filed 09/12/22 Page 2 of 4




accommodations under the ADA, the very accommodations Penn State University

agreed to and memorialized on which the plaintiff detrimentally relied. Plaintiff was

required to take her online final exams on campus when such action was deleterious to

her health.

       When plaintiff learned from the Bursar’s Office that her scholarship had been

revoked without proper procedure, her First Amendment rights were then violated. She

was instructed by Dean Conway not to speak with anybody on campus concerning what

the Bursar had told her. Defendant retaliated and discriminated against plaintiff arising

out of exercise of her rights as a disabled person. The effectual refusal to allow

financial services to communicate with the Plaintiff until the completion of the

affirmative action review is retaliation.

       C. Plaintiff's Discovery

       Plaintiff will request discovery from Penn State University and its Dickinson

Law School of all employees, professors or other agents of Penn State who had contact

with plaintiff relevant to the allegations of her complaint. This would also include

information and standards on Turnitin and the other similarity checker used on

plaintiff's paper, as well as any standards or information which Penn State has on the

similarity checkers, agreement from plaintiff to have her paper submitted to such

devices, and how the plaintiff's score was assessed.

       Plaintiff needs information concerning reasonable accommodation with respect

to plaintiff's disability. Plaintiff would request to depose, at a minimum, Professor

Gould, who was plaintiff's professor and a witness at the Honor Board hearing, and

Dean Conway and others ultimately involved in the withdrawal of plaintiff's

scholarship.
   Case 4:22-cv-01431-MWB Document 22 Filed 09/12/22 Page 3 of 4




       In addition, plaintiff would need discovery on all information concerning failure

to allow plaintiff to obtain a promised loan by failing to allow her to communicate with

necessary employees of Penn State who were needed to enroll for her third semester.

Plaintiff would request the ability to supplement this discovery, particularly since

plaintiff has not received the transcript of the hearing at Dickinson Law School.

       Plaintiff objects to providing the documents which are already in the possession

of Penn State University.

       D. Formal Discovery

       This is not a standard track case. Defendant has requested 8 - 12 depositions.

Accordingly, plaintiff would request the following:

        Proposed Discovery Deadline: 04/13/23.

        Proposed Dispositive Motion Deadline: 05/12/23.

        Proposed Response to Dispositive Motion Deadline: 06/13/23.

       E. Expert Witness Disclosures

       There may be a need for experts involving the similarity checkers, including

Turnitin, used by defendants on plaintiff's paper. There is also an issue as to whether

the results of Turnitin should have been legally admitted and whether they tainted

information at plaintiff's honor board hearing.



                                                      Respectfully submitted,
                                                      /s/ William C. Reil
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                                                      09/12/22
   Case 4:22-cv-01431-MWB Document 22 Filed 09/12/22 Page 4 of 4




                            CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the attached document (s) was

served upon all other parties or their counsel of record by:


                               _____________________           Regular First Class Mail

                               _____________________           Facsimile

                               _____________________           Certified Mail

                               _____________________           Hand-Delivered

                                          X                    Electronic Filing

                               _____________________           Federal Express




                                                               /s/ William C. Reil
                                                               William C. Reil, Esquire
                                                               Attorney for Plaintiff
                                                               09/12/22
